AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 1
                 Case 2:05-cr-80879-AC-SDP ECF No. 14 filed 05/30/07                             PageID.72      Page 1 of 4

                                                                                                             Judgment-Page 1 of 4



                                            United States District Court
                                                  Eastern District of Michigan
                    United States of America
                                  V.                                     Case Number: 03CR80617-2; 05-80879-03
                              ALI MAKKI                                  USM Number: 31737-039


                                                          AMENDED
                                                  JUDGMENT IN A CRIMINAL CASE
                                           (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: February 02, 2006                             Clyde Pritchard
(or date of Last Amended Judgment)                                       Defendant's Attorney


Reason for Amendment:
  Incorrect payee information
   Pleaded guilty to count(s) 1 and 2 of First Superseding Indictment.
Title & Section                      Nature of Offense                                          Offense Ended       Count
18 USC 371                           Conspiracy to Traffic in and Smuggle Counterfeit           12/2004             1ss
                                     Goods
18 USC 1956(h)                       Conspiracy to Launder Monetary Instruments                 12/2004             2ss
  The defendant is sentenced as provided in pages 2 through 4 of this judgment. This sentence is imposed pursuant of the
Sentencing Reform Act of 1984
   IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.


                                                                         May 30, 2007
                                                                         Date of Imposition of Judgment




                                                                       s/Avern Cohn
                                                                      _________________________________________
                                                                        United States District Judge



                                                                         May 30, 2007
                                                                         Date Signed
AO245B [Rev. 12/03] Judgment in a Criminal Case
                 Case 2:05-cr-80879-AC-SDP ECF No. 14 filed 05/30/07
        Sheet 4- Probation
                                                                                         PageID.73       Page 2 of 4
                                                                                                       Judgment-Page 2 of 4
DEFENDANT: ALI MAKKI
CASE NUMBER: 03CR80617-2
                                                        PROBATION
The defendant is hereby sentenced to probation for a term of: 24 months on each count to be served concurrently..
  The defendant shall not commit another federal, state or local crime.
  If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two
periodic drug tests thereafter, as determined by the court. Revocation of Probation is mandatory for possession of a controlled
substance.
  If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
  the Schedule of Payments sheet of this judgment.
  The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.
                                        STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall supoort his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
AO245B [Rev. 12/03] Judgment in a Criminal Case
                 Case 2:05-cr-80879-AC-SDP ECF No. 14 filed 05/30/07
        Sheet 4C - Probation
                                                                                        PageID.74         Page 3 of 4
                                                                                                        Judgment-Page 3 of 4
DEFENDANT: ALI MAKKI
CASE NUMBER: 03CR80617-2

                      SPECIAL CONDITIONS OF SUPERVISION UNDER PROBATION
    The defendant shall participate in the home confinement program for a period of 6The defendant will maintain a telephone
  at his/her place of residence without "call forwarding," a modem, "Caller ID," "call waiting," or portable cordless telephones
  for the above period. At the direction of the probation officer, the defendant shall wear an electronic monitoring device and
  follow electronic monitoring procedures as specified by the probation officer. The defendant shall pay the costs of electronic
  monitoring.

    The defendant shall make monthly payments on any remaining balance of the:restitution at a rate and schedule
  recommended by the Probation Department and approved by the Court.
    The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
  officer.
     The defendant shall provide the probation officer access to any requested financial information.
AO245B [Rev. 12/03] Judgment in a Criminal Case
                 Case 2:05-cr-80879-AC-SDP ECF No. 14 filed 05/30/07
        Sheet 5 - Criminal Monetary Penalties
                                                                                             PageID.75        Page 4 of 4
                                                                                                            Judgment-Page 4 of 4
DEFENDANT: ALI MAKKI
CASE NUMBER: 03CR80617-2

                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 300.00                        $ 0.00                               $ 10,190.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
North Atlantic Operating Co., Inc.                                           $0.00             $10,190.00
  3029 Muhammad Ali Boulevard
  P.O. Box 32980
  Louisville, KY 40232-2980
  TOTALS:                                                    $ 0.00                  $ 10,190.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
